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OF TEXAS







NO. WR-77,578-01






WILLIAM JAMES FOSTER, Relator


v.


HON. MARIA T. JACKSON, JUDGE OF THE 339th DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1125443-A
			

FROM HARRIS COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 339th District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  The record in this case reflects that the
district court entered an order designating issues on January 4, 2011.

	Respondent, the Judge of the 339th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.  In the
alternative, Respondent may resolve the issues set out in the order designating issues and then have
the District Clerk submit the record on such application.  In either case, Respondent's answer shall
be submitted within 30 days of the date of this order.  This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted his response.


Filed: June 27, 2012

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